USDC IN/ND case 2:16-cr-00174-JTM-JEM               document 172        filed 08/22/17      page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                        v.                      )      CAUSE NO. 2:16-CR-174-RL-JEM
                                                )
 LLOYD “MONEY” BRUCE,                           )
                     Defendant.                 )

  AMENDED FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
     UPON A PLEA OF GUILTY BY DEFENDANT LLOYD “MONEY” BRUCE

 TO:    THE HONORABLE RUDY LOZANO,
        UNITED STATES DISTRICT COURT

        Upon Defendant Lloyd “Money” Bruce’s request to enter a plea of guilty pursuant to Rule

 11 of the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge

 John E. Martin on July 19, 2017, with the consent of Defendant Bruce, counsel for Defendant Bruce,

 and counsel for the United States of America.

        The hearing on Defendant Bruce’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant Bruce under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Bruce,

        I FIND as follows:

        (1) that Defendant Lloyd “Money” Bruce understands the nature of the charge against him

 to which the plea is offered;

        (2) that Defendant Lloyd Bruce understands his right to trial by jury, to persist in his plea

 of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,

 and his right against compelled self-incrimination;
USDC IN/ND case 2:16-cr-00174-JTM-JEM               document 172        filed 08/22/17   page 2 of 2


        (3) that Defendant Lloyd “Money” Bruce understands what the maximum possible sentence

 is, including the effect of the supervised release term, and Defendant Lloyd Bruce understands that

 the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Lloyd “Money” Bruce has been knowingly and

 voluntarily made and is not the result of force or threats or of promises;

        (5) that Defendant Lloyd “Money” Bruce is competent to plead guilty;

        (6) that Defendant Lloyd “Money” Bruce understands that her answers may later be used

 against him in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Lloyd “Money” Bruce’s plea; and further,

        I RECOMMEND that the Court accept Lloyd “Money” Bruce’s plea of guilty to the offense

 charged in Counts Eight and Twenty-One of the Second Superseding Indictment and that Defendant

 Lloyd “Money” Bruce be adjudged guilty of the offense charged in Counts Eight and Twenty-One

 of the Second Superseding Indictment and have sentence imposed. A Presentence Report has been

 ordered. Should this Report and Recommendation be accepted and Lloyd “Money” Bruce be

 adjudged guilty, sentencing before Senior Judge Rudy Lozano will be set at a later date by separate

 order. Objections to the Findings and Recommendation are waived unless filed and served within

 fourteen (14) days. See 28 U.S.C. § 636(b)(1).

        So ORDERED this 22nd day of August, 2017.

                                                       s/ John E. Martin
                                                       MAGISTRATE JUDGE JOHN E. MARTIN
                                                       UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
